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i  BARRY ROSEN
~~ 136 S. Clark Dr. #5
   Los Angeles, CA 90048         ~(o~o~J                                 "= ~                   Q
3
   Tel:(323)653-2043             ~~~~                                  ~\~;                     ~
4
     In Pro Per                                                                 -_         _. -'
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                          UNITED STATES DISTRICT COURT                                     {=   ~;;,
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s                        CENTRAL DISTRICT OF CALIFORNIA
9
                  BARRY ROSEN,                    Case No. 17-CV-07727-PSG-JEMz
io   Individually and as a Private Attorney       Honorable Philip S. Gutierrez
ii   General
                  Petitioner and Plaintiff,         PLAINTIFFS' EX PARTE
12                                                  APPLICATION FOR AN
13                      vs.                         ORDER [1] STRIKING
                                                    DEFENDANT'S RULE 12
14
   UNITED STATES GOVERNMENT,                        MOTIONS[DKT. NOS.57-63]
15 FEDERAL AVIATION                                 FOR FAILURE TO COMPLY
   ADMINISTRATION,AND CITY OF                       WITH SERVICE PURUSANT
16
   SANTA MONICA,                                    TO FRCP 5 AND APPLICABLE
i~             Respondents and                      LOCAL RULES,ALONG WITH
is Defendants.                                      THE COURTS ORDER AND [2]
                                                    RENEWED REQUEST FOR
19                                                  ENTRY OF DEFAULT
ao
                                                  Filed concurrently herewith:
2i                                                   DECLARATION OF BARRY
as                                                   ROSEN
23
                                              (PROPOSED)ORDER
24

25

26

2~   TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR

Zs   ATTORNEYS OF RECORD:
            PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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     PLEASE TAKE NOTICE Plaintiff Barry Rosen ("Plaintiff') will and hereby do
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     apply ex parte for an order striking both of Defendants' Rule 12 Motions (DKT.
3
     NOS. 57-63)failure to serve said motion documents on Plaintiff pursuant to FRCP
4
     5(b), Local Rule 5-3.2.1 and the Courts March 21,2018 Order(DKT 55), and for
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     failure to file required documents pursuant to Local Rule 7-12, Et Al.
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     I.    INTRODUCTION
s
9           In the interest of Judicial economy,Plaintiff has good cause for this ex parte

io   application as both Defendants in this Action failed to comply with the Courts

11   March 21, 2018 Order(DKT 55)order setting a deadline requiring them to
12   "Respond" to Plaintiff's Third Amended Complaint by Apri123, 2018, due to
13   failure by both Defendants failure to serve Plaintiff with such responsive pleadings
14   (DKT. NOS. 57-63) pursuant to the requirements under FRCP 5(b) prior to filing
is    such documents(as specifically required under Local Rule 5-3.2.1).
16   II.    STATEMENT OF FACTS
i~    1.    On March 19, 2018, The Parties filed a stipulation that Defendants would
18   "Respond" to Plaintiff's Third Amended Complaint(also filed on March 19, 2018)
19    on or before Apri123, 2018 and a proposed order thereon.(Declaration of Barry
20 Rosen ¶ 2).
21
     2.     On March 23, 2018, The Court entered an order(DKT. 55)that Defendants
22
      were to "Respond" to Plaintiff's Third Amended Complaint on or before Apri123,
23
      2018(Declaration of Barry Rosen ¶ 3).
24
      3.    Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and 5(a)(1)(D), a
25
     "Response" requires that responsive pleadings or a written motion be served
26
      pursuant to Federal Rules of Civil Procedure 5(b)(Declaration of Barry Rosen ¶ 4;
2~

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             PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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     4.     Prior to filing electronically, pursuant to Local Rule 5-3.2.1, Individuals w
2
     are not registered for the CM/ECF System must be served in accordance with
3
     F.R.Civ.P. 5, and proof of service on such individuals must be made by declarati~
4
     in the form required by L.R. 5-3.1.2 (Declaration of Barry Rosen ¶ 5).
s
     5.      Plaintiff's is Pro Per and is not registered for the CM/ECF System and must
6
     be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C)(Declaration
     of Barry Rosen ¶ 6).
s
9
                     Defendant City of Santa Monica's Failure to Serve

io 6.     On Apri123, 2018 Defendant City of Santa Monica("CSM")electronically

ii filed a Rule 12 Motion. As evidenced by Defendant CSM's Proof of Service(DKT
12   63)(claiming that Plaintiff would be served), it is clear that Plaintiff was not
13   served at all prior to the motion being filed on April 23, 2018 as required pursuant
14   to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, Defendant CSM's filing was wholly
15    deficient/defective for failure to serve the documents on Plaintiff prior to filing
16   (Declaration of Barry Rosen ¶ 7).
i~ 7.       Defendant CSM's Proof of Service was also the subject to a Deficiency
is (DKT.65)as it was also improperly filed (Declaration of Barry Rosen ¶ 8).
19   8.     Pursuant to L.R. 5-3.1.2 and L.R. 7-12, the Clerk/Court should have rejected
20
     Defendant CSM Rule 12 Motion Sua Sponte for failure to serve pursuant to
2i    F.R.Civ.P. 5, prior to filing (Declaration of Barry Rosen ¶ 10).
22
     9.     Because ofthe deficient/defective motion(and filing related thereto),
23
     Plaintiff filed a Request for Entry of Default on Apri130, 2018(DKT.67 and 68).
24
      10.   Plaintiff's Request for Entry of Default was rejected by the clerk on May 2,
2s
      2018(DKT.69)(Declaration of Barry Rosen ¶ 11).
26
      11.    In response to Plaintiff's Request for Entry of Default, Defendant CSM
2~
     filed a Second Certificate of Service on May 3, 2018(DKT.70)in a bad faith
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             PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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     attempt to show that service was done. As evidenced by the Second Certificate of
2
     Service and Declaration of Joseph Balderas attached thereto, it is abundantly clear
3
     that Plaintiff was never served (personally or otherwise) with Defendant CSM's
4
     Rule 12 Motion papers pursuant to any provision ofF.R.Civ.P. 5.(i.e. purportedly
5
     leaving a copy a at a door does not qualify as service)(Declaration of Barry Rosen
6
     ¶ 12).
     12.      Plaintiff has never been served at all Defendant CSM's Rule 12 Motion
s
9
     papers (Declaration of Barry Rosen ¶ 13).

io   13.      Because Defendant CSM failed to serve their Rule 12 Motion papers on

ii   Plaintiff prior to'filing, they failed to timely plead or otherwise respond to

12   Plaintiffs Third Amended Petition/Complaint.
13                             Defendant FAA's Failure to Serve
14   14.      On Apri123, 2018 Defendant Federal Aviation Administration("FAA")
15   electronically filed a Rule 12 Motion. As evidenced by Defendant FAA Proof of
16   Service(Document 59-4), it is clear that Plaintiff was not served at all prior to the
i~   motion being filed on Apri123, 2018 as required pursuant to L.R. 5-3.1.2 and
is   F.R.Civ.P. 5. In fact, Defendant FAA fully failed to claim any service at all on
19   Plaintiff. As such, Defendant FAA's filing was wholly deficient/defective for
20
     failure to serve the documents on Plaintiff prior to filing (Declaration of Barry
21
     Rosen ¶ 14).
22
     15.      Defendant FAA also failed to lodge a proposed order pursuant to L.R. 5-
23
     4.4.1, which was also the subject to a Deficiency(DKT. 64)(Declaration of Barry
24
     Rosen ¶ 15).
Zs
     16.      Pursuant to L.R. 5-3.1.2, L.R. 5-4.4.1 and L.R. 7-12, the Clerk/Court should
26
     have rejected Defendant FAA Rule 12 Motion Sua Sponte for failure to serve
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               PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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      pursuant to F.R.Civ.P. 5, prior to filing and failure to lodge a proposed order.
2
     (Declaration of Barry Rosen ¶ 16)
3
      17.    Again, because ofthe deficient/defective motion(and filing related thereto),
4
     Plaintiff filed a Request for Entry of Default on Apri130, 2018(DKT.67 and 68)
s
     (Declaration of Barry Rosen ¶ 17).
6
      18.    Again, Plaintiffs Request for Entry of Default was rejected by the clerk on
      May 2, 2018(DKT.69)(Declaration of Barry Rosen ¶ 18).
s
9
      19.    Plaintiff has never been served at all Defendant FAA's Rule 12 Motion

io    papers (Declaration of Barry Rosen ¶ 19).

ii    13.    Because Defendant FAA failed to serve their Rule 12 Motion papers on
12   Plaintiff prior to filing, they failed to timely plead or otherwise respond to
13   Plaintiff's Third Amended Petition/Complaint.
14    III.   ARGUMENT
is    A.Failure to Serve documents prior to filing Motions)
16           As noted above, both of Defendants' Proofs of Service filed in conjunction
i~    with their Rule 12 Motion papers[DKT. NOS. 57-63] are wholly defective due to
is the fact that they do not claim that Plaintiff was actually served by any method or
i9 personal knowledge thereof, nor do they assert service on Plaintiff by any method
ao    whatsoever that is in compliance with the service requirements pursuant to
ai    F.R.Civ.P. 5(b) as will be further discussed below.
z2
             Prior to filing electronically, pursuant to Local Rule 5-3.2.1, Individuals w
23
      are not registered for the CM/ECF System must be served in accordance with
24
      F.R.Civ.P. 5, and proof of service on such individuals must be made by declaration
2s
      in the form required by L.R. 5-3.1.2 (emphasis added). As Plaintiff is not
26
      registered for the CMIECF System,Plaintiff must therefor be served in accordance
2~
     !, with F.R.Civ.P. 5 prior to the filing of such motions. It is clear from both
Zs
             PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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     Defendants filings that Plaintiff was never served with either of Defendants
a
     Motions. Furthermore, Defendant FAA makes no claim of service on Plaintiff
3
     whatsoever. As such, the Clerk had a ministerial duty to reject Defendants filings
4
     for failure to serve pursuant to F.R.Civ.P. 5 and to comply with L.R. 5-3.2.1, but
s
     has not done so.
6
     B.Failure to comply with FRCP 5(b)
           Under the Federal Rules of Civil Procedure, manner of service of process is
a
                                             procedure to be followed when serving
 9 addressed in Rule 5. Rule 5 specifies the
io other papers (than a complaint). Rule 5 contains provisions for personal(hand)
ii   service (b)(2)(A), substituted service (b)(2)(B), and service by mail(b)(2)(C), Rule
12   5 does not contain any provision for what Defendants CSM have now listed in
13   their Second Certificate of Service on May 3, 2018(DKT. 70)as "left package at
14   front door" when Plaintiff wasn't home (see Magnuson v. Video Yesteryear, 85
is F.3d 1424,13 1430-1431 (9th Cir.1996) holding that Federal Express does not
16   satisfy the requirements of Rule 5(b)).
i~         In order to constitute personal service pursuant to Rule 5(b)(2)(A),
is Defendant CSM would need to demonstrate that the documents were actually
i9 handed directly to Plaintiff and a proof of service attesting to that fact is completed
20 by the person who actually served the documents and such proof is filed with the
21
     court. As there is no such proof of personal(hand)service on file with the court,
as
     Defendants cannot demonstrate actual service. Furthermore,the claim in
23
     'Defendants CSM's first Proof of Service(DKT.63)that they "will serve" also
24
     does not demonstrate compliance in any way, shape or from with the requirements
25
     of Rule 5. Again. Defendant FAA makes no claim of any service on Plaintiff
26
     whatsoever.
a~
as
            PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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           As Plaintiff has been never been served with either of Defendants Motion
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     documents pursuant to the methods specified under Rule 5 and because the
3
     required proofs of service under L.R. 5-3.1.2 are fully deficient for lack of such
4
     service, the court should now strike both of Defendants Rule 12 Motions and all
s
     documents related thereto for failure to serve them prior to filing (and or to serve
6
     them at all) pursuant to L.R. 7-12.
     C. Failure to comply with Local Civil Rules 5-3.2.1, 5-3.1.2 and 5-4.4.1
s
9
           As previously discussed above, Local Civil Rule 5-3.2.1 provides that Prior

io   to filing electronically, Individuals who are not registered for the CM/ECF System

ii   must be served in accordance with F.R.Civ.P. 5, and proof of service on such

is   individuals must be made by declaration in the form required by L.R. 5-3.1.2 and

13   filed with the motion (emphasis added). Defendants were both fully aware(and
14   were also on specific notice) ofthe fact that Pro Per Plaintiff is not registered for
is   the CM/ECF System, and must therefor be served in accordance with F.R.Civ.P. 5
16   prior to the filing of such motions, yet both fully failed to do so. Such is
i~   abundantly clear from both Defendants filings, which clearly show that Plaintiff
ig   was never served with either of Defendants Motions and in the case of Defendant
i9 FAA,there is no consideration for service ofPlaintiff whatsoever. Thus,
ao Defendants were in fact precluded from filing their motions in the first instance for
ai   failure to service Plaintiff. Moreover,the Clerk had a ministerial duty to reject
22
     Defendants filings for failure to serve pursuant to F.R.Civ.P. 5 and to comply with
23
     L.R. 5-3.2.1 and L.R. 5-3.1.2, but has not done so.
24
           Defendant FAA also failed to comply with L.R. 5-4.4.1 by lodging a
is
     proposed order, which was also the subject to a Deficiency(DKT.64) by the C
26
            As a result ofthe fact that Defendants filed their respective Motions without
2~
     having first complied with their service obligations under Local Civil Rules 5-3.2.1
as
            PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS'RULE 12 MOTIONS

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     and 5-3.1.2 and F.R.Civ.P. 5 and given that Defendant FAA failed to lodge a
2
     proposed order under L.R. 5-4.4.1 the court should now strike both of Defendants
3
     Rule 12 Motions and all documents related thereto pursuant to L.R. 7-12, for
4
     failure to serve them on Plaintiff prior to filing (and or to serve them at all) and for
s
     failure to lodge an order and/or comply with the local rules.
6
     D. Failure to comply with the courts March 23, 2018 order
            As discussed above, pursuant to the parties March 19, 2018 stipulation, on
s
9
     March 23, 2018, The Court entered an order(DKT.55)that Defendants were to

io "Respond" to Plaintiff's Third Amended Complaint on or before Apri123, 2018.
ii      As also discussed above,Pursuant to Federal Rules of Civil Procedure

is   5(a)(1)(B) and 5(a)(1)(D), a "Response" requires that responsive pleadings or a
13   written motion be served pursuant to Federal Rules of Civil Procedure 5(b).
14   Furthermore, Local Civil Rule 5-3.2.1 makes it abundantly clear that such service
is   must be done pursuant to F.R.Civ.P. 5(b)on individuals(such as Pro Per Plaintiff
16   who have not users of the CM/ECF System.
i~          Because neither Defendant served Plaintiff with any responsive documents
is   as required under F.R.Civ.P. 5 and L.R. 5-3.2.1, the "Responsive" filings were in
19   fact deficient/defective and untimely pursuant to the Courts order and therefore
Zo   must be rejected by the court on that basis. Thus, because Defendants have failed
21
     to comply with their respective obligations under F.R.Civ.P. 5 and L.R. 5-3.2.1, et
22
     al, along with the Courts March 23,2018 order, Defendants have failed to timely
23
     respond to Plaintiff's Third Amended Complaint and therefore, Pursuant to L.R. 7-
24
     12, the Court should now reject both Defendants Rule 12 Motions and also enter
25
     Default for failing to timely "Respond."
26
     E.Entry of Default is now appropriate
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             PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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           As outlined above, Defendants have failed to demonstrate any valid service
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     of process whatsoever oftheir respective Rule 12 Motions and in so doing,
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     violated numerous rules and a court order. In so doing, their "Responsive" filings
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     were in fact deficient/defective and untimely pursuant to the Courts order and
s
     therefore must be rejected struck by the court on that basis and thus an entry of
6
     default is now appropriate for such violations and/or specifically due to the failure
     to serve the documents. Therefore, both of Defendants Rule 12 motions should
s
9
     now be struck and entry of default should be granted.

io   F.Judicial Economy

ii         Plaintiff brings this Ex Parte Application in the overall interest of Judicial

12   Economy due to the serious deficiencies/defects by Defendants due to a complete
13   lack of service oftheir respective motions and failure to follow the local rules
14   related thereto. Because ofPlaintiffls various upcoming travel and other business
is   commitments,Plaintiff's first opportunity to address those deficiencies/defects on
16   regularly scheduled motion would be on the currently scheduled July 9, 2018
i~   hearing date. As Plaintiff currently plans on bringing at least three(3)cross
is   motions for that date, along with having to brief the oppositions to Defendants
i9   untimely, deficient/defective motions, Plaintiff believes that it is in the best
zo   interest of Judicial Economy to bring this issue to the courts attention at this time
21
     in order to avoid the Court(and the parties) having to deal with as many as five(5)
22
     motions/cross motion briefings that may be unnecessary due to defendants failure
23
     to serve Plaintiff. Moreover, Plaintiff believes that the issue of service (or lack
24
     thereof as the case may be)is a highly appealable issue (see Magnuson v. Video
25
     Yesteryear) and that any litigation that may now ensue, will likely be negated on
26
     appeal to the ninth circuit. Thus, in the interest of Judicial Economy,the court
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            PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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     should now strike Defendants motions for failing to comply with Rule 5 and L.R.
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     5-3.2.1.
3
     IV.   NOTICE
4
           Pursuant to L.R. 7-19 and the the Courts standing order, Plaintiff has given
5
     notice of this application(and response time) by sending a copy ofthis application
6
     and all supporting documents to opposing counsel, Ivan Campbell and Gary
     Feldon by faxed and email (Declaration of Barry Rosen ¶ 20).
s
9
     V.    CONCLUSION

io         For the reasons set forth herein, Plaintiff respectfully requests that the court

ii   issue and order striking Defendants' Rule 12 Motions (DKT. NOS. 57-63)for

is failure to serve said documents on Plaintiff pursuant to FRCP 5(b)and failure to
13 comply with Local Civil Rules 5-3.2.1, 5-3.1.2 and 5-4.4.1.

14

is   Respectfully submitted,
16

i~   Dated: May 7, 2018                          ~ .e       G       ~~
                                                                 -~~,
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i9                                          Plaintiff Bany Rosen, In Propria Persona
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            PLAINTIFF'S EX PARTE APPLICATION TO STRIKE DEFENDANTS' RULE 12 MOTIONS

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